
*The plaintiff also produced the bond executed by the said Vaughan and his sureties to Joseph Payne, his principal. It bore date the 15th day of November, 1802. The condition stated that he was to act as deputy, “ until Goochland November Court, 1804,” but concluded with “if, therefore, the said James Vaughan shall truly and faithfully, &amp;6. &amp;c. during the time of his continuance in office of deputy-sheriff, then the above obligation to be void, or else to remain in force.”
The defendants gave in evidence a judgment obtained by the plaintiff against the said Vaughan, for nonpayment of the same money, received by him and now demanded of his sureties ; but there was no proof of satisfaction of that judgment.
